                                                                                   CC#: C19-16131




                          COUNTY CLERK'S OFFICE ^.s.                                     'I'd n y
                                   STATE OF NEW YORK

                                    COUNTY OF SUFFOLK              ^       APR 6§ 2919        ★
                                                                    LONG liLANB ePFICE

                  I, JUDITH A. PASCALE, Clerk of the County of Suffolk and the Court
of Record thereof do hereby certify that I have compared the annexed with the original
CLERKS MINUTES(NYSCEF)
filed in my office on 04/04/2019
and, that the same is a true copy thereof, and of the whole of such original.




In Testimony Whereof, I have hereunto set my hand and affixed the seal of said County
and Court this 4/4/2019




                                                       SUFFOLK COUNTY CLERK


                                                                   (2. A
                                                             JUDITH A. PASCALE




                                                                                 SEAL
         NYSCEF                                        Document List
                                                                                         Created on:04/04/2019 01:44 PM
{lll^ /'') Suffolk County Supreme Court                Index# 600747/2019

Case Caption: Patricia Cummings v. The City of New York et al
Judge Name:


           SUMMONS WITH NOTICE                                         Processed   01/10/2019         LiottI, T.


2          AFFIRMATION/AFFIDAVIT OF SERVICE                            Processed   02/11/2019         LiottI, T. - filed by TMS
                                                                                                      Services, Inc.

3          STATEMENT OF AUTHORIZATION FOR                              Processed   02/11/2019          LiottI, T. - filed by TMS
           ELECTRONIC FILING                                                                          Services, Inc.
           STATEMENT OF AUTHORIZATION
4          AFFIRMATION/AFFIDAVIT OF SERVICE                            Processed   02/11/2019          LiottI, T. - filed by TMS
                                                                                                      Services, Inc.

5          AFFIRMATION/AFFIDAVIT OF SERVICE                            Processed   02/19/2019          LiottI, T. - filed by TMS
                                                                                                       Services, Inc.

6          NOTICE OF APPEARANCE(PRE RJI)                               Processed   02/19/2019          Grygiel, M.
           and Demand for Complaint
7           DEMAND FOR COMPLAINT                                       Processed   02/19/2019          Balog, A.


8           DEMAND FOR CHANGE OF PLACE OF TRIAL                        Processed   02/19/2019          Balog, A.


9           DEMAND FOR COMPLAINT                                       Processed   02/21/2019          Leish, M.


10          AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   02/28/2019          LiottI, T. - filed by TMS
                                                                                                       Services, Inc.
11          DEMAND FOR COMPLAINT                                       Processed   03/14/2019          Lawlor, J.


12          AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   03/19/2019          Liotti, T. - filed by TMS
                                                                                                       Services, Inc.

13          STIPULATION - OTHER                                        Processed   03/19/2019          Liotti, T.
            Stipulation extending plaintiffs time to serve Complaint
            to and Includina Mav 17. 2019
14          NOTICE OF REMOVAL / REMAND(POST RJI)                       Processed   03/22/2019          Leish, M.


15          AFFIRMATION/AFFIDAVIT OF SERVICE                           Processed   04/01/2019          Liotti, T. - filed by TMS
                                                                                                       Services, Inc.




                                                                                                            Page 1 of 1
IFILED;. SUFFOLK COUNTY CLERK 03/22/2019 06:00                                                           ^00747/2019
NYscEF DOC. NO.0.^56 1:19-CV-01664 DocutTient 1 Filed03/22/19 Page 1 of                        ^icEP; 03/22/2019


          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK


          PATRICIA CUMMINGS,
                                                                      Case No.

                                       Plaintiff,

                                                                      NOTICE OF REMOVAL TO
                  against -
                                                                      FEDERAL COURT

          THE CITY OF NEW YORK;NEW YORK CITY
          DEPARTMENT OF EDUCATION; CITY OF NEW
          YORK OFFICE OF SPECIAL INVESTIGATIONS;
          NYC MAYOR BILL de BLASIO; GIULIA COX;
          COURTNEY WARE;BEN CHAPMAN;NEW
          YORK DAILY NEWS;DR. ANDRE PERRY;
          THE HECHINGER REPORT a/k/a HECHINGER
          INSTITUTE ON EDUCATION AND THE MEDIA;
          LENARD LARRY McKELVEY a/k/a
          CHARLAMAGNE THA GOD', WWPR-FM (105.1
          MHZ);iHEARTMEDIA;CLEAR CHANNEL
          COMMUNICATIONS,INC.; NEW YORK STATE
          SENATOR,KEVIN S. PARKER;COUNCILMAN,
          JUMAANE D. WILLIAMS;COUNCILMAN,
          DANIEL DROMM;COALITION OF
          EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
          NATASHA CAPERS,and "JOHN DOE AND JANE
          DOE# 1-100" said names being fictitious, it being the
          intent ofPlaintiffto designate any and all individuals,
          officers, members, agents, servants, and/or employees
          ofthe aforementioned agencies owing a duty of care to
          Plaintiff, individually and jointly and severally.

                                       Defendants.




                 Pursuant to 28 U.S.C. §§ 1331,1441 and 1446, Defendants Daily News, L.P., incorrectly

          named as New York Daily News, and Ben Chapman (collectively, "Daily News") hereby notice

          removal of this civil action from the Supreme Court of the State of New York, County of

          Suffolk, to the United States District Court for the Eastern District of New York. This Court has

          removal jurisdiction because this is a civil action that includes "a claim arising under the




                                                      1 of 24
[FILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 PM|                                                      600747/2019
NYscEF DOC. NO.Q.^se l:l9-cv-01664 Document 1 Filed 03/22/19 Page 2 of                        ^y2cef: 03/22/2019



          Constitution, laws, or treaties of the United States." 28 U.S.C. § 1441(c)(1)(A). In further

         support ofthis Notice of Removal,the Daily News alleges as follows:

                 1.      On or about January 1, 2019, Plaintiff Patricia Cummings commenced an action

         captioned Patricia Cummings v. The City of New York, et al.. Index No. 600747/2019, in the

         Supreme Court of the State of New York, County of Suffolk, by filing a Summons with Notice

         (the "State Action").

                 2.      On February 20, 2019, Plaintiff served a copy of a Summons with Notice on the

         Daily News.

                 3.      On February 21, 2019, the Daily News filed a Demand for Complaint and served

         the same on Plaintiff.


                4.       On March 4, 2019, defendants The City of New York, New York City

         Department of Education, City of New York Office of Special Investigations, NYC Mayor Bill

         de Blasio, Giulia Cox, Courtney Ware, Councilman Jumaane D. Williams, and Councilman

         Daniel Dromm (collectively,"The City Defendants") served a motion to change the venue of the

         State Action in Supreme Court of the State of New York, New York County, Index No.

          100277/2019.


                5.       No further proceedings have occurred in the State Action. In accordance with 28

         U.S.C. § 1446(a), a true and correct of copy of Plaintiffs Summons with Notice, which

         represents all process, pleadings, and orders served upon the Daily News in the State Action, is

         attached hereto as Exhibit A.

                6.       In the Summons with Notice, Plaintiff alleges that the named Defendants, among

         other things, violated Federal Civil Rights, 42 U.S.C. §§ 1983 and 1988, including the Due




                                                    2 of 24
IFILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 ^                                                            600747/2019
NYSCEF DOC.             l!l9"CV"01664 DOCUITlBnt 1 Fil6Cl 03/22/19 P9Q6 3 Of                     %y3ceF: 03/22/2019



         Process and Equal Protection clauses of the Fourteenth Amendment to the United States

          Constitution.


                 7.       As pled, Plaintiffs claims are predicated on federal law, involve contested federal

          issues, and implicate substantial federal interests.

                 8.       Plaintiffs claims will require this Court to interpret, apply, and enforce federal

          civil rights and constitutional laws and regulations.

                 9.       Accordingly, removal of this action is appropriate pursuant to 28 U.S.C. § 1331

          on the grounds of federal question jurisdiction. This action arises 'binder the Constitution, laws

          or treaties of the United States" and is within this Court's original jurisdiction. 28 U.S.C.

          § 1331.

                  10.     To the extent Plaintiffs claims arise under New York State law, including any

          tort claims or violations of New York State civil rights laws and the New York State

          Constitution, and do not come within the original jurisdiction of this Court, the Court has

          supplemental jurisdiction over such claims pursuant to 28 U.S.C. §§ 1367, as it relates to and is

          founded upon the same allegations giving rise to this Court's originaljurisdiction.

                  11.     Accordingly, this action is removable to this Court under 28 U.S.C. §§ 1331,

          1367, 1441, 1446, and Federal Rule of Civil Procedure 81(c).

                  12.     The United States District Court for the Eastern District of New York is

          appropriate for purposes of removal because it embraces the place in which the removed action

          has been pending. See 28 U.S.C. § 112.

                  13.     This Notice of Removal is timely filed under 28 U.S.C. § 1446(b), as it is filed

          within thirty days after the Daily News' receipt ofthe Summons with Notice.




                                                            3


                                                        3 of 24
(FILED; SUFFOLK COUNTY CLERK 03/22/2019 06:00 PM|                                                          600747/2019
NYscEF DOC. NO.0^56 l:l9-cv-01664 Document 1 Filed 03/22/19 Page 4 of                           fe4cEF: 03/22/2019



                 14.    Each of the named Defendants consent to removal of this action except

         iHeartMedia, Clear Channel Communications, Inc. (n/k/a iHeartCommunications, Inc.) and

         WWPR-FM (105.1 MHZ). As detailed in a letter to Plaintiffs counsel dated February 19,2019,

         iHeartMedia, Clear Channel Communications, Inc. (n/k/a iHeartCommunications, Inc.) and

         WWPR-FM (105.1 MHZ) are not proper parties to this action.                Specifically, continued

         prosecution of the State Action as to iHeartMedia, iHeartCommunications, Inc. and WWPR-FM

         (105.1 MHZ)would constitute a direct violation of the automatic stay extant in cases filed under

         chapter 11 of title 11 of the United States Code (the "Bankruptcy Code"), which are pending in

         the United States Bankruptcy Court for the Southern District of Texas. Although the rule of

         imanimity generally requires that all defendants either join in a removal or consent thereto, it is

         well-understood that a defendant subject to an automatic stay in bankruptcy court is not properly

         joined and, as such, need not join or consent to removal. See, e.g., PNC Equip. Finance, LLC v.

          USA Wheel Technology, Inc., No. 1:1 lcvl99,2012 WL 441172, at *1 (S.D. Ohio Feb. 10,2012)

         ("[WJhere a non-joining defendant is bankrupt, courts have found that an exception is to be made

         to the rule of unanimity."). Moreover, a bankrupt defendant "need not join in the removal

         petition because it was not amendable to service of legal process." Id. at 1 n. 2 (collecting

         cases). A true and correct copy ofthe February 19,2019, letter is attached hereto as Exhibit B.

                15.     True and correct copies of the remaining Defendants' Consents to Removal are

         attached hereto as Exhibit C.


                16.     Pursuant to 28 U.S.C. § 1446(d), the Daily News is simultaneously filing a true

         and correct copy of this Notice of Removal with the Clerks of the Supreme Court of the State of

         New York, County of Suffolk, and County of New York and serving a copy of this Notice of

         Removal on Plaintiff.




                                                     4 of 24
(FILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 PMl                                                           600747/2019
 NYscEF DOC. NO.O^SG l:l9-cv-01664 DocuiTient 1 Filed 03/22/19 Page 5 of                            ^fy§cef: 03/22/2019



                   WHEREFORE, the Daily News respectfully requests that this action be removed from

           the Supreme Court of New York, Suffolk County, to this Court, and that this Court proceed as if

           this case had been originally initiated in this Court,



           Dated: New York,New York                                 By: /s/ Matthew A. Leish
                  March 22,2019                                         Matthew A. Leish
                                                                        Assistant General Counsel
                                                                        Daily News,L.P.
                                                                        4 New York Plaza
                                                                       New York, NY 10004
                                                                       (212)210-2144

                                                                    Attorneysfor Defendants Daily News, L.P. and
                                                                    Ben Chapman




                                                             5


                                                         5 of 24
(FILED; SUFFOLK COUNTY CLERK 03/22/2019 06:00 PM|                                                  ^^dex no. 600747/2019
 NYscEF DOC. NoCci^ l:19-cv-01664 Document 1-1 Filed 03/2id/i9 Page 1 of                                    : 03/22/2019


        SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF SUFFOLK
                                                                  -X
         PATRICIA CUMMINGS,                                            IndexNo.: 600747/2019

                                                                       Date Purchased: 01/10/2019
                                               Plaintiff,
                       -against-
                                                                       SUMMONS WITH NOTICE


        THE CITY OF NEW YORK;
        NEW YORK CITY DEPARTMENT OF EDUCATION;                         Plaintiff designates
        CITY OF NEW YORK OFFICE OFSPECIAL                              SUFFOLK COUNTY
        INVESTIGATIONS; NYC MAYOR BILL de BLASIO;                      as the Place of Trial
        GIULIA COX; COURTNEY WARE;BEN CHAPMAN;
        NEW YORK DAILY NEWS;DR.ANDRE PERRY;                            Basis of Venue:
        THE HECHINGER REPORT a/k/a HECHINGER                           The Plaintiffs* residence
        INSTITUTE ON EDUCATION AND THE MEDIA;
        LENARD LARRY McKELVEY a/k/a                                    The Plaintiff resides in
        CHARLAMAGNE THA GOD;                                           Farmingville, New York
        WWPR-FM (105.1 MHZ);iHEARTMEDIA;                               Suffolk County
        CLEAR CHANNEL COMMUNICATIONS,INC.;
        NEW YORK STATE SENATOR.KEVIN S.PARKER;
        COUNCILMAN.JUMAANE D.WILLIAMS;
        COUNCILMAN.DANIEL DROMM;
        COALITION OF EDUCATIONAL JUSTICE; ANGEL
        MARTINEZ; NATASHA CAPERS,and
        "JOHN DOE AND JANE DOE # 1-100"said names
        being fictitious, it being the intent of Plaintiff
        to designate any and all individuals, officers, members,
        agents,servants,and/or employees ofthe
        aforementioned agencies owing a duty of care to Plaintiff,
        individually and jointly and severally,

                                               Defendants




        To the above Named Defendants:

               PLEASE TAKE NOTICE THAT YOU ARE HEREBYSUMMONED to appearin this action byserving
        a notice ofappearanceon Uie Plaintlff(s3 atthe addresssetforth below within 20 days after the service
        ofthis Summons(not counting the day ofservice itself), or within 30 days after service is complete if
        the summons is not delivered personally to you within the State of New York.




                                                            6 of 24
                                                                             INDEX NO. 600747/2019
[FILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 ^
 NYSCEF DOC NoP^^s l:19-cv-0l664 Document l-i Filed 03/22/19 Page 2 ofiS;(Efe9§lPil^s^EF: 03/22/2019




        YOU ARE HEREBY NOTIFIED THAT should you fail to answer or appear, a judgment will be entered
        against you by default for the relief demanded below.

        Dated: Garden City, New York
               January 9, 2019
                                                           Yours,



                                                           LAW OFFICES OF W^MAS F. LI(       ,LLC
                                                           By: Thomas F. Liotti, Esq.
                                                           Attorneys for Plaintiff
                                                           600 Old Country Road. Suite 530
                                                           Garden City, New York 11530
                                                           (516]794-4700




        TO:    THE CITY OF NEW YORK
               c/o Comptroller ofthe City of New York
               Municipal Building - Room 1225
               One Centre Street
               New York, New York 10007

               NEW YORK CITY DEPARTMENT OF EDUCATION
               New York City Law Department
               100 Church Street, Ground Floor
               New York, New York 10007

               CITY OF NEW YORK OFFICE OF SPECIAL INVESTIGATIONS
               80 Maiden Lane
               New York, New York 10038

               NYC MAYOR BILL de BLASIO
               City Hall
               New York, NY 10007

               GIULIACOX
               c/o The William W.Niles School    Middle School 118
               577 E. 179th Street
               Bronx, New York 10457

               COURTNEY WARE
               c/o The William W.Niles School    Middle School 118
               577 E. 179th Street
               Bronx, New York 10457




                                                       7 of 24
IFILED; SUFFOLK COUNTY CLERK 03/22/2019 06:00                                          600747/2019
NYSCEF DOC. NoP^56 I:l9-cv-0l664 DocuiTient 1-1 Filed 03/22/19 P^e 3 ofi^(Ffe§^tPi^^EF: 03/22/2019


              BEN CHAPMAN
              c/o New York Daily News
              4 New York Plaza
              New York, New York 10004

              NEW YORK DAILY NEWS
              4 New York Plaza
              New York, New York 10004

              DR. ANDRE PERRY
              c/o The Brookings Institution
              1775 Massachusetts Ave., NW
              Washington, DC 20036

              THE HECHINGER REPORT a/k/a
              HECHINGER INSTITUTE ON EDUCATION AND THE MEDIA
              c/o Teachers College - Columbia University
              525 W.120th St, TC Box 127
              New York City, New York 10027

              LENARD LARRY McKELVEY a/k/a CHARLAMAGNE THA GOD
              c/o iHeartMedia
              125 W 55th St
              New York, New York 10019

              WWPR-FM [105.1 MHZ)
              163 E 125th St
              New York, New York 10035

              IHEARTMEDIA
              125 W 55th St
              New York, New York 10019

              CLEAR CHANNEL COMMUNICATIONS,INC.
              1233 Avenue of the Americas
              New York, New York 10020

              NEW YORK STATE SENATOR, KEVIN S. PARKER
              District Office
              3021 Tllden Ave.,
              1st floor & Basement
              Brooklyn, New York 11226-5107

              COUNCILMAN,JUMAANE D. WILLIAMS
              District Office
             4517 Avenue D
              Brookl5m, New York 11203




                                                     8 Of 24
IFILED; SUFFOLK COUNTY CLE^RK 03/22/2019 06:00 ^                                                               600747/2019
NYscEF DOC. No!^^§e i:i9-cv-oibe4 Document 1-1 Filed 03/22/19 Page 4 of^(Bja9§iPi#:sQEF = 03/22/2019



               COUNCILMAN,DANIEL DROMM
               District Office
               37-32 75th Street, 1st Floor
               Jackson Heights, New York 11372

               COALITION OF EDUCATIONAL JUSTICE
               726 Broadway,5''' Floor
               Metro Center
               New York, New York 10003

               ANGEL MARTINEZ
               c/o Coalition of Educational Justice
               726 Broadway, S''* Floor
               Metro Center
               New York, New York 10003

               NATASHA CAPERS
               c/o Coalltioi\ ofEducational Justice
               726 Broadway, Floor
               Metro Center
               New York,New York 10003

               JOHN DOE AND JANE DOE # 1-100
               being all individual Defendants
               owing a duty of care to Plaintiffs, the identities and addresses of whom
               are currently unknown to Plaintiffs


       NOTICE;The object ofthis action is to recover damages for the harm caused to the Plaintiff, Patricia
       Cummings',reputation,livelihood,and career as a NewYork City PublicSchool Teacher atTheWilliam
       W.Niles School- Middle School 118,Community School District10,in Bronx County,New York;to wit:
       for the defamation, discrimination, distress, suffering, mental, emotional, and physical anguish and
       humiliation and embarrassmentinflicted upon the Plaintiff,Patricia Cummings',due to the negligence,
       carelessness, recklessness, and, misfeasance^ malfeasance, and negligent acts practices, and/or
       omissions ofthe Defendants in negligently,improperly,and unprofessionally failing to expeditipusly
       investigate false,frivolous,retaliatory, unsubstantiated, and delusive allegations erroneously made
       against the Plaintiff and Inappropriately making her the subject of extensive defamatory media
       coverage; directing an automatic and protracted reassignment from her position as a New York City
       Public School Teacher atThe William W.Niles School - Middle School 118,Community School District
       10, in Bronx County, New York, and ultimately her termination as a New York City Public School
       Teacher;and further in violating State and Federal Civil Rights,42 U.S.C.§§ 1983 and 1988,including
       butnotlimited to State and Federal Constitutional violations for a denial ofDue Process and the Equal
       Protection ofthe Laws.

       This matter arose as a result of what was erroneously reported concerning a complaint made by a
       parent of a student regarding a lesson taught by the Plaintiff in her social studies class 408,on the
       Middle Passage, which took place on January 9, 2018. On or about January 16, 2018,the Plaintiff
       received a hand-delivered correspondence by and from Giulia Cox,Principal ofThe William W. Niles
       School - Middle School 118, inexplicably informing her that she was the subject of a disciplinary
       meeting to take place on January 18,2018.Shortly thereafter,from January 23, 2018 to January 25,




                                                        9 of 24
[FILED;                            ^                       06:00 PMl             index no. 500747/2019
 nyscep doc.            x.x«-uv-uiDD4 uocutnent 1-1 hied 0^/^2/19 Page 5 of MssalE)^SSkw = 03/22/2019

         2018.the Plam&ff was removed from teaching class 408; however,she continued to teach her other
                                              Plaintiff's
          aintiff was confronted on school properly   byreturn to class 408,
                                                          Ben Chapman,       on or about
                                                                         a reporter fromFebruary
                                                                                          the hTew1.2018  the
                                                                                                   York Dailv
          ews,and as a result, became the subject ofa front page story in the New York Daily News falselv
        accusmgher ofbeing a "racist" and "making black students lieface down on thefloor ofher class and
        asking them [HJow^doesitfeel to be a slaver"As a result,this fabricated and erroneous set of"facts"
        7nd
         nd fn
            in mldr/Jlf            world^de
               media all over the world.       and transmitted
                                         The Plaintiff          to various
                                                        was featured        hewsprominent
                                                                     in several  outlets andnewspapers
                                                                                             appeared online
                                                                                                         and
                                               VouTube,where itis erroneously reported,amongotherthings
       fern                                           tftemnct/ikes/aves/'she is falsely reported to have tofd
                              P^tolly accused of"child abuse," labeled as a "racist;" referred to as an
          ppressor, by many,including politicians and activists,and specifically by Ben Chapman a renorter
       fromtheNewyorkDaUyNewsandDr,AndrePer:yinth;HedLa:Saronp^^^^^^^
       cXd°S?ot?/°iV® on inequalityand innovation in education.The Plaintiffhas been publically
       radin personality,
       radio        ®i H f    T''
                          Lenard                  ® professionally
                                 Larry McKelvey,known          ^"^"te   supremacist,"
                                                                   as"Charlamagne thaby Power
                                                                                      God"    losli
                                                                                          onthe air
       ^ue.She hM received directthreats ofviolence and death causlngher to fearfor her life Giulia Co*
       PnncipalofTheWllIiamW.NilesSchool-MiddleScho^^
                                                                                   later testified tothe Office
       exo^^ratPd"!^^,                the lesson in question was appropriate. The Plaintifr was uWrnately
      InvestigahPns         erroneous allegations following an investigation by the Office of Special

      n,.w                          and she has been unwillingly exposed to negative notoriety Which has
      publicallyhumihatedandembarrassedherandsubjectedhertothreatsofviolenee,assault,anddea1h.
                          monetaiy relieffor damages as a resultofthe defamation,reverse discrimination
      ffinrlm. =.                               psycbological,and physical distress,loss ofreputation,loss
      MiiiinnT^n                                  Plaintiff in an amount notless than One Hundred Twenty
      ^xceeds
            °^ the Junsdictional limits ofall lowerdetermined
                        (^120,000,000.00),  to  be  courts, whichupon
                                                                   maytheotherwise
                                                                           trial of this
                                                                                    haveaction; whichtogether
                                                                                         jurisdiction amount
      anda further reliefas to the 12'2018,
                                   Court   plusjust
                                         seems   theand
                                                    costsproper.
                                                          and disbursementsofthe action,ana andfor  such other
                                                                                                lorsucn

     1*1^                        1° action have beenserved with a timely Notice ofClaim,andmore than
       nmap^IMend^ts by the fihng of this action, as a pre-action hearing on'sthe no prejudice to the
                                                                                     Plaintiffs' claim
     pureuanttoGeneralMunicipalLaw,Aracie4,Section50-hhasbeenscheduled,
     Defendants will have an opportunity to orally examine the Plaintiff, underwherein themnnlcipal
                                                                                oath, relative to die
     occurrences and the extent ofthe injuries for which her claim was made.
     Upon your failure to appear, judgment will be taken against you by default in an amount to be
     cou^whlrh"''®"           °                                     jurisdictional limits of ail lower
     rn^^'n^ a ® h olberwise havejurisdiction,together with interestfrom Januaiy 18,2018,plusthe
     and^ropet                                                      Lutherreliefas to the Courtseerasjust


                                                      10 of 24
               SUFFOLK CQrrMTy CLERK"                           /oo Vom 5—7^—;rs            ^
NYSCEF DOC.                    -L-'-Ly-CV-Ulbb4 UoCUmuii\ ) F„«u
                                                   umenti-.? L.?3ku.5/^^/1 M             Page i of          INDEX NO. 600747/2019

              GreenbergTraurig
               Michael 3. Grygiel
               Tel 518-689-1400
              Fax 518-689-1499
              gryglelm@gtlaw.com




                                                              February 19, 2019


                          mail(tom@iliottLcom)
             AND UPS/OVERNIGHTDELIVERY
             Thomas F. Liotti, Esq.
             Law Offices of Thomas F. Liotti, LLC
             600 Old Country Road
             Suite 530
             Garden City, New York 11530

                      Re: Patricia Cummmgs v. City ofNew York, et al.. Index No.600747/2019
            Dear Mr. Liotti;


                                                              is                  "?;*'''"-Wo Tb M in fc
          .names
            Noto n,as Appnj,:;
                       Defendants2         L?z,s
                                  iHeartMedia, Clear rbannr^]                        p      '• •           Action also
            iHeartCommimications,Inc.)•SwwS.FiSws.i'SISS,"                                                1>«. («.

          (the"Bank^S^?                                                                   Southern District of Tex^'
                  Please be advised that continiifiH
                                                     rosecution of the Action ma
           Violation 01 the a,.tnn.,t.c stay                                                      constitute a direrf



          acts as                                                                                                 that
          prohibited by section 362 ofthe Bankruptcy Code arr'^h'"                       '^'"ong the acts specifically
          a judicial, administrative, or otherSor                               =°'"r"f»ent or continuation ...of
          been commenced before the commencement of the S^SyTci^""                                        r""''u^ ®
         possession of property of fthe debtor'«i f»c>tQ+« ^ 47 ^                          • .. [or] any act to obtain
         over pmperty'ofKtl [o^ t:^cotrLlTml^°'"                                                              -"'-l
         fT^rdfrr ""r
         of"actual damSrLEtc'i^a^d'XSs^
         may recover punitive damages." 5ee ,, U.S.b.                              TZtZTS^efS
Grccnborg Traurig. LLP|Attoiaey.s at Law
S4S.,eS.iee. , ...r,o„ .                   , T.,518.S,..00 , 5 .1 S18.689.H,0
                                                                                                                www.gtlaw.com
                                                              11 of 24
   NO. 14 Qgcp 1*1 Q»r\/_ni fiA/I            ^^ ^                                             INDEX NO. 600747/2019
                                       ument 1-2 Filed 03/22/19 Page 2 of 2 Pagell3®^^l^ nyscef: 03/22/2019
     Thomas F. Liotti,
      hnmac P  T       Esq.
                       T7

     February 19, 2019
     Page 2



    foS
    the stay. juScfd  TOding!
               5ee So.ebee         i?~dS°e^'
                           v. Steadfcu^, I„s. Co., 7oTFJdToil                     authority
                                                                           ChloTlfT'" to
    any attempt to prosecute the Action against anv Debtor ifi, T f                   ^=<=°''<''n6ly.
    commencement ofthe Debtors'bankruptcy cases.                                  ^         ''y
    the ActSg^SheSr?FdKfl?"                                          further activity to prosecute
    Bankruptcy Court with tSnSl^ siSo^"'^                         mmnnX.proceedings in the
    taken in viktion oTtte aut«f                  .sanctions costs, and other expenses. Actions
   court for violating tirat^omaTsmr^::           U  uTc  Uhmvir
   at 519. The Debtors hereby reserve all of their rigL af!f
                                                                                f"
   <1-^                ™                         i r.iSCiXii.™"''
   ,»to Srwi'"";To'!"iSS? trS"                                 rnCommunications,
                                                                          .""r"!««    Inc. (rXa
   iHeartCommunications,
           Should you have any questions, please do not hesitate to contact me.
                                           Very truly yours,

                                    G^ENBERG TRAURIG,LLP


                                         Michael J.
  MJG/rsb
  Enclosure




ALB 2187139V1




GREENBERG TRAURIG,UP.ATTORNEYS AT UW.WWW.GTLAW.COM
                                            12 of 24
IFILED; SUFFOLK COUNTY CLERK 03/22/2019 O61OO PMI                                                                          600747/2019
NYscEF DOC.           l-iy-cv-01664 DocutTient 1-3 Filed 03/22/19 Page 1 of                                               : 03/22/2019



         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK


         PATRICIA CUMMINGS,

                                             Plaintiff,
                                                                                 CIVIL ACTION NO.

                  - against

         THE CITY OF NEW YORK;NEW YORK CITY
         DEPARTMENT OF EDUCATION;CITY OF NE,W
         YORK OFFICE OF SPECIAL INVESTIGATIONS;                                      Removedfrom the Supreme Court
         NYC MAYOR BILL de BLASIO; GIULIA COX;                                       ofNew Yorkfor Suffolk County
         COURTNEY WARE;BEN CHAPMAN;NEW
         YORK DAILY NEWS;DR. ANDRE PERRY;                                            Index No.600747/2019
         THE HECHINGER REPORT a/k/a HECHINGER
         INSTITUTE ON EDUCATION AND THE MEDIA;
         LENARD LARRY McKELVEY a/k/a
         CHARLAMAGNE THA GOD-, WWPR-FM (105.1
         MHZ);iHEARTMEDIA; CLEAR CHANNEL
         COMMUNICATIONS,INC.; NEW YORK STATE
         SENATOR,KEVIN S.PARKER; COUNCILMAN,
         JUMAANE D. WILLIAMS; COUNCILMAN,
         DANIEL DROMM;COALITION OF
         EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
         NATASHA CAPERS,and "JOHN DOE AND JANE
         DOE# 1-100" said names being fictitious, it being the
         intent of Plaintiffto designate any and all individuals,
         officers, members, agents, servants, and/or employees
         ofthe aforementioned agencies owing a duty ofcare to
         Plaintiff, individually and jointly and severally.

                                             Defendants.



                  Defendants The City of New York ("City"), New York City Department of Education

         ("DOE"), City of New York Office of Special Investigations ("OSI"'), NYC Mayor Bill
         de Blasio, Giulia Cox, Courtney Ware, Councilman Jumaane D. Williams, and Councilman

         Daniel Dromm (collectively, tlie "City Defendants"), by and tluough their undersigned counsel.


              OSl is not only misnained in this action, but it is also not a separate suable entity. OSI is the New York City
              Department of Education's Office of Special Investigations and is part ofthe DOE.




                                                             13 of 24
[FILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 PMI                                                      600747/2019
NYscEF DOC.         i:iy-cv-uibb4 Document i-;5 hiied U3/idid/iy Page 2 of                               03/22/2019



          and without waiving any defenses or claims, hereby consent to removal of this action, currently

          pending in the Supreme Court of New York for Suffolk County, Index. No. 600747/2019, to the

          United States District Court for the Eastern District of New York.


          Dated: New York, New York                          ZACHARY W.CARTER
                 March 22,2019                               Corporation Counsel ofthe City ofNew York
                                                             Attorney for City Defendants
                                                             100 Church Street, Room 2-143
                                                             New York, New York 10007-2601
                                                             (212)356-1104
                                                             abalog@law.nyc.gov



                                                                               ri:

                                                                    A^stantiC/rporation Counsel




                                                         2


                                                     14 of 24
                                                                                           INDEX NO. 600747/2019
IFILED: SUFFOLK COUNTY CLERK 03/22/2019 06;00 PMI
NYSCEF DOC.         l-19"Cv-0lbb4 Document 1-3 Filed 03/22/19 Page 3 of ^(EfeS^ilP^s^F: 03/22/2019



         UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF NEW YORK


         PATRICIA CUMMINGS,

                                         Plaintiff,
                                                                      CIVIL ACTION NO.

                   against -

          THE CITY OF NEW YORK;NEW YORK CITY
          DEPARTMENT OF EDUCATION; CITY OF NEW
          YORK OFFICE OF SPECIAL INVESTIGATIONS;                        Removedfrom the Supreme
          NYC MAYOR BILL de BLASIO; GIULIA COX;                         Court ofNew Yorkfor Siffolk
          COURTNEY WARE;BEN CHAPMAN;NEW                                 County
          YORK DAILY NEWS; DR. ANDRE PERRY;
                                                                        Index No. 600747/2019
          THE HECHINGER REPORT a/k/a HECHINGER
          INSTITUTE ON EDUCATION AND THE MEDIA;
          LENARD LARRY McKELVEY a/k/a
          CHARLAMAGNE THA GOD-, WWPR-FM (105.1
          MHZ);iHEARTMEDIA;CLEAR CHANNEL
          COMMUNICATIONS,INC.; NEW YORK STATE
          SENATOR,KEVIN S. PARKER; COUNCILMAN,
          JUMAANE D. WILLIAMS; COUNCILMAN,
          DANIEL DROMM;COALITION OF
          EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
          NATASHA CAPERS,and "JOHN DOE AND JANE
          DOE# 1-100" said names being fictitious, it being the
          intent of Plaintiff to designate any and all individuals,
          officers, members, agents, servants, and/or employees
          ofthe aforementioned agencies owing a duty of care to
          Plaintiff, individually and jointly and severally,

                                         Defendants.




                                             CONSENT TO REMOVAL

                  Defendant Lenard Larry McKelvey a/k/a Charlamagne Tha God, by and thi-ough his

          undersigned counsel, and without waiving any defenses or claims, hereby consents to removal of

          this action, currently pending in the Supreme Court of New York for Suffolk County, Index

          No. 600747/2019,to the United States District Court for the Eastern District of New York.




                                                       15 of 24
                                                                                         INDEX NO. 600747/2019
IFILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 PM
NYSCEF DOC. NO. u Qggg 1:19-07-01664 Documeiit 1-3 Filed 03/22/19 Page 4 of 12 PagelOT?'®           "'"/aois



           Dated: March 22,2019                      GREENBERG TRAURIG,LLP




                                                           54 State Street, Floor I
                                                           Albany,New York 12207
                                                           Tel: (518)689-1400
                                                           Fax:(518)689-1499
                                                           grygielm@gtlaw.com

                                                     Attorneysfor Defendant Lenard Larry McKelvey
                                                     a/k/a Charlamagne Tha God
           ACTIVE 42475779v2




                                                16 of 24
                                                                                           INDEX NO. 600747/2019
[FILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 PMl
NYscEF DOC.         l-iy"Cv-0l6b4 DocuiTient 1-3 Filed 03/22/19 Page 5 of                               : 03/22/2019



          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK


          PATRICIA CUMMINGS,

                                        Plaintiff,
                                                                      CIVIL ACTION NO.

                  against

          THE CITY OF NEW YORK;NEW YORK CITY
          DEPARTMENT OF EDUCATION; CITY OF NEW
          YORK OFFICE OF SPECIAL INVESTIGATIONS;                         Removedfrom the Supreme
          NYC MAYOR BILL de BLASIO; GIULIA COX;                           Court ofNew Yorkfor Suffolk
          COURTNEY WARE;BEN CHAPMAN;NEW                                   County
          YORK DAILY NEWS; DR. ANDRE PERRY;
                                                                         Index No.600747/2019
          THE HECHINGER REPORT a/k/a HECHINGER
          INSTITUTE ON EDUCATION AND THE MEDIA;
          LENARD LARRY McKELVEY a/k/a
          CHARUMAGNE THA GOD; WWPR-FM (105.1
          MHZ);iHEARTMEDIA;CLEAR CHANNEL
          COMMUNICATIONS,INC.; NEW YORK STATE
          SENATOR,KEVIN S. PARKER; COUNCILMAN,
          JUMAANE D. WILLIAMS;COUNCILMAN,
          DANIEL DROMM;COALITION OF
          EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
          NATASHA CAPERS,and "JOHN DOE AND JANE
          DOE# I-ICQ" said names being fictitious, it being the
          intent of Plaintiff to designate any and all individuals,
          officers, members, agents, servants, and/or employees
          of the aforementioned agencies owing a duty of care to
          Plaintiff, individually and jointly and severally.

                                         Defendants.



                                             CONSENT TO REMOVAL

                  Defendant New York State Senator Kevin S. Parker, by and through his undersigned

          counsel, and without waiving any defenses or claims, hereby consents to removal of this action,

          currentiy pending in the Supreme Court ofNew York for Suffolk County,Index No.600747/2019,
          to the United States District Court for the Eastern District of New York.




                                                       17 of 24
(FILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 PM|                                                600747/2019
NYscEF DOC.                      DocumeDt 1-3 hiied 03/22/iy Page 6 of                           03/22/2019



          Dated: March 21,2019                   OFFICE OF NEW YORK STATE SENATOR
                                                 KEVIN PARKER




                                                        William T. Little, Esq.
                                                        Counsel to the Secretary of the Senate
                                                        New York State Capitol Building
                                                        172 Slate Street, Room 500F
                                                        Albany, New York 12247
                                                        (518)455-2908 (Direct)
                                                        (518)925-2845 (Cell)

                                                 Attorney for Defendant New York State Senator
                                                 Kevin S. Parker
          ACTtVE 42476367V1




                                                 2

                                             18 of 24
                                                                                            INDEX NO. 600747/2019
IFILED; SUFFOLK COUNTY CLERK 0372272019 06:00_PM)
NYscEF DOC. nS^.ci§.q I:l9-cv-0l664 Document 1-3 Filed 03/22/19 Page 7 of                              : 03/22/2019



          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK


          PATRICIA CUMMINGS,

                                        Plaintiff,
                                                                     CIVIL ACTION NO.

                   against

          THE CITY OF NEW YORK;NEW YORK CITY
          DEPARTMENT OF EDUCATION; CITY OF NEW
          YORK OFFICE OF SPECIAL INVESTIGATIONS;                        Removedfrom the Supreme Court
          NYC MAYOR BILL de BLASIO; GIULIA COX;                         ofNew Yorkfor Suffolk County
          COURTNEY WARE;BEN CHAPMAN;NEW
          YORK DAILY NEWS;DR. ANDRE PERRY;                              Index No.600747/2019
          THE HECHINGER REPORT a/k/a HECHINGER
          INSTITUTE ON EDUCATION AND THE MEDIA;
          LENARD LARRY McKELVEY a/k/a
          CHARLAMAGNE THA GOD; WWPR-FM (105.1
          MHZ);iHE/VRTMEDIA; CLEAR CHANNEL
          COMMUNICATIONS,INC.; NEW YORK STATE
          SENATOR,KEVIN S. PARKER;COUNCILMAN,
          JUMAANE D. WILLIAMS;COUNCILMAN,
          DANIEL DROMM;COALITION OF
          EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
          NATASHA CAPERS,and "JOHN DOE AND JANE
          DOE# 1-100" said names being fictitious, it being the
          intent ofPlaintiff to designate any and all individuals,
          officers, members, agents, servants, and/or employees
          ofthe aforementioned agencies owing a duty of care to
          Plaintiff, individually and jointly and severally.

                                        Defendants.




                                            CONSENT TO REMOVAL

                  Defendant New York City Coalition for Educational Justice, incorrectly named as

           Coalition of Educational Justice, without waiving any defenses or claims, hereby consents to

          removal of this action, currently pending in the Supreme Court of New York for Suffolk County,

          Index No. 600747/2019, to the United States District Court for the Eastern District of New York.




                                                      19 of 24
IFILED; SnFFOLK CODNTY CLERK 03/22/2019 06:00 PM
NYSCEF DOC NO 14 Qase l;19-cv-01664 Document 1-3 Filed 03/22/19 PageSof 12 PagelCFW?'®



          Dated: March 21,2019

                                                   By:
                                                         Hetal Dalai
                                                         Director ofLegal Compliance
                                                         NYC Coalition for Educational Justice,
                                                         a project ofCenter for Popular Democracy
                                                         449 Troutman Street, Suite A
                                                         Brooklyn, New Yoik 11237

          ACTIVE 42476728V2




                                              20 Of 24
IFILED: SUFFOLK COUNTY CLERK 03/22/2019 06;00 PM                                                           600'"»''/20i9
NYSCEF DOC. NO. 14 Qgjse l:19-cv-01664 Document 1-3 RIed 03/22/19 Page9of 12



          UNITED STATES DISTRICT COURT
          EASTERN DISTRICT OF NEW YORK


          PATRICIA CUMMINGS,

                                        Plaintiff,
                                                                    CIVIL ACTION NO.

                 - against-

          THE CITY OF NEW YORK;NEW YORK CITY
          DEPARTMENT OF EDUCATION;CITY OF NEW
          YORK OFFICE OF SPECIAL INVESTIGATIONS;                       Removedfrom the Supreme
          NYC MAYOR BILL de BLASIO;GIULIA COX;                         Court ofNew Yorkfor Suffolk
          COURTNEY WARE;BEN CHAPMAN;NEW                                County
          YORK DAILY NEWS;DR.ANDRE PERRY;
                                                                       Index No.600747/2019
          THE HECHINGER REPORT a/k/a HECHINGER
          INSTITUTE ON EDUCATION AND THE MEDIA;
          LENARD LARRY McKELVEY a/k/a
          CHARLAMAGNE THA GOD\ WWPR-FM (105.1
          MHZ);iHEARTMEDIA;CLEAR CHANNEL
          COMMUNICATIONS,INC.;NEW YORK STATE
          SENATOR,KEVIN S.PARKER;COUNCILMAN,
          JUMAANE D. WILLIAMS;COUNCILMAN,
          DANIEL DROMM;COALITION OF
          EDUCATIONAL JUSTICE;ANGEL MARTINEZ;
          NATASHA CAPERS,and"JOHN DOE AND JANE
          DOE# 1-100'* said names being fictitious, it being the
          intent ofPlaintiffto designate any and all individuals,
          officers, members,agents,servants, and/or employees
          ofthe aforementioned agencies owing a duty ofcare to
          Plaintiff, individually and jointly and severally,

                                        Defendants.




                                           rONSENT TO REMOVAL

                 Defendants Hechinger Institute on Education and the Media, an institute of Teachers

          College, Columbia University, and Dr. Andre Perry (collectively, the "Hechinger Defendants"),

          by and through their undersigned counsel, and without waiving any defenses or claims, hereby

          consent to removal ofthis action,currently pending in the Supreme Court ofNew York for Suffolk




                                                       21 Of 24
IFILED; SUFFOLK COUNTY CLERK 03/22/2019 06:00 PMl                                                            «00747/20i9
NYSCEF DOC. NO. i4Qg3g                Document 1-3 Filed 03/22/19 Page 10 of 12




            County,Index No.600747/2019,to the United States District Court for the Eastern District ofNew

             York.



            Dated: March 21, 2019                          HAYNES AND BOONE,LLP



                                                            By:
                                                                  Richard D. Rochford
                                                                  Joseph Lawlor
                                                                  30 Rockefeller Plaza, 26'*' Floor
                                                                  Telephone: (212)659-4984
                                                                  richard.rochford.haynesboone.com
                                                                  joseph.lawlor@haynesboone.com

                                                           Attorneysfor Defendants Hechinger Institute on
                                                           Education and the Media, an institute ofTeachers
                                                           College, Columbia University, and Dr. Andre Perry
             ACTIVE 42469167v1




                                                       22 Of 24
                                                                                                      INDEX NO. 600747/2019
IFILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 PM
NVSCEF DOC. m. i4Case li19-CV-01664 Document 1-3 Filed 03/22/19 Page 11 of 12 Pagefff¥!^3"SCEF: 03/22/2019




             UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF NEW YORK


             PATRICIA CUMMINGS,

                                            Plaintiff,                   CIVIL ACTION NO.

                    - against

             THE CITY OF NEW YORK;NEW YORK CITY
             DEPARTMENT OF EDUCATION;CITY OF NEW
             YORK OFFICE OF SPECIAL INVESTIGATIONS;                        Removedfrom the Supreme Court
             NYC MAYOR BILL de BLASIO; GIULIA COX;                         ofNew Yorkfor Sujfolk County
             COURTNEY WARE;BEN CHAPMAN; NEW
             YORK DAILY NEWS; DR. ANDRE PERRY;                             Index No. 600747/2019
             THE HECHINGER REPORT a/k/a HECHINGER
             INSTITUTE ON EDUCATION AND THE MEDIA;
             LENARD LARRY McKELVEY a/k/a
             CHARLAMAGNE THA GOD; WWPR-FM (105.1
             MHZ); iHEARTMEDIA; CLEAR CHANNEL
             COMMUNICATIONS,INC.; NEW YORK STATE
             SENATOR,KEVIN S. PARKER;COUNCILMAN,
             JUMAANE D. WILLIAMS; COUNCILMAN,
             DANIEL DROMM;COALITION OF
             EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
             NATASHA CAPERS,and "JOHN DOE AND JANE
             DOE# 1-100" said names being fictitious, it being the
             intent of Plaintiff to designate any and all individuals,
             officers, members, agents,servants, and/or employees
             of the aforementioned agencies owing a duty of care to
             Plaintiff, individually and jointly and severally,

                                            Defendants.




                                                CONSENT TO REMOVAL

                    Defendants Angel Martinez and Natasha Capers, without waiving any defenses or claims,

             hereby consent to removal of this action, currently pending in the Supreme Court of New York

             for Suffolk County, Index No. 600747/2019, to the United States District Court for the Eastern

             District of New York.




                                                           23 Of 24
                                                                                                     INDEX NO. 600747/2019
[FILED; SUFFOLK COUNTY CLERK 03/22/2019 06;00 PMl
NYSCEF DOC. Ko. UQggg i:i9-cv-01664 DocuiTient 1-3 Filed 03/22/19 Page 12 of 12 Pagefi5FS^2'4'"®''=''' 03/22/2019




              Dated: March 22, 2019
                                                                Natasha Caj5efis
                                                                Coordinator
                                                                NYC Coalition for Educational Justice
                                                                726 Broadway, 5*^ Floor
                                                                New York,New York 10003
                                                                  i       J   /':              /jA
                                                                 /I     Aii . r                ''''
              Dated: March 22, 2019                       Byr                      /I
                                                                Ang^i Martinez
                                                                Parent CommunipH^iaisoiL
                                                                NYC Coalition      Educational Justice,
                                                                726 Broadway,^FJOor
                                                                New York, New York 10003




              ACmE 42519988V2




                                                     24 of 24
